UNITED STATES DISTRICT COURT
FOR 'I`HE WESTERN DISTRICT OF MISSOURI

Civil Case Number

w04-.1114»-Cv.w .GM

Filed Deeember 7, 2004

 

Stcwart A. We.bb, COMPLAINT

816 478-3267

Mail C/'O JURY TRIAL DEMAND
4109 S. River

Independcncc, Misscuri 64055

E-Maii: stewwebb@sierranv.net

httD://Www.stewwebb.corn

Plaintiff,
Vs.

Kansas City Misscuri Police Dcpartment
1125 Locust, Kansas City, Missouri 64106
Acting in official capacity

Ka;nsas City Missouri Police Department
1125 Locust, Kansas City, Missouri 64106
Acting in personal-individual capacity

Board of Police Commissioncrs for szsas City, Missouri
1125 Locust, Kansas City, Missouri 64106

Acting in official capacity

Board cf Police Commissicners for Kansas City, Missouri
1125 Locust, Kansas City, Missouri 64106

Acting in persona-individua} capacity

Kansas City Missouri Police Officer L. Taylor Serial No: 3524 Unit SPD
(Taylcr), actiag in official capacity

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Kansas City Missouri Police Officer L. Taylor Serial No: 3524 Unit SPD
(Taylcr), acting in personal-individual capacity

Kansas City Missouri Policc Oft`tcer R. Stewart Serial No: 2795 Unit AIS
(Stewart) acting in cf§cial capacity

Kansas City Missouri Police Ofi`zcer R. Stewart Serial No: 2795 Unit AIS
(Stewart) acting in personal-individual capacity

Kansas City Missouri Policc Department Jailers unnamed
1125 Locust, Kansas City, Missouri 64106

Actirtg in official capacity

Kansas City Missouri Police Dcpartment Jai}crs unnamed
1125 Locust, Kansas City, Missouri 64106

_Acting in personal-individual capacity

Judgc Roach 1101 Locust Court Rccm H, Kansas City, Missotm` 64106
`(Roach) acting in official capacity

Judge Rcach 1101 Locust Court Room H, Kansas City, Missouri 64106
(Roach) acting in personal-individual capacity

Kansas City, Missouri Municipal Prosecutors unnamed
1101 Locust, Kansas City, Missouri 64106,

Acting in official capacity

Kansas City, Missouri Municipal Prosecutors unnamed
1101 Locust, Kansas City, Missouri 64106,

Acting 'm personal-individual capacity

Unitcd Statcs Pubiic Dcfendcrs foicc

Assistant Public Defcnder Charles Szekely Denver, Colorado
633 17th Strcet Suite 1,000 Dcnvcr, Cclorado 80202

Acting in official capacity

United Statcs Public Defcndcrs Office

Assistant Pub}ic Defcndcr Char1es Szcke1y Denvcr, Colorado
633 17th Strcet Suite 1,060 Denver, Colorado 862{)2

Acting in personal-individual capacity

'IHE FOLLGW¥NG UNNAN{ED

1-1000 Doe's as Defendant's /CO-conspirators,
Acting in official capacity

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THE FOLLOWING UNNAMED

1-1000 Doe's as Defendant's /CO=conspirators,

Acting in personal-individual capacity
Defendants,

NOW COMES the Plaintifl`, Stewart A. Webb Pro Se, (Stew Webb herein)
and herein, upon information and belief and established facts, and for lois
causes of action against all named and unnamed Defendants alleges and
states the following:

I.

JURISDICTION AND VENUE
1, Plaintiff’s federal claim arises pursuant to 42 U.S.C. 1983; jurisdiction
properly lies in this Court pursuant to 28 U.S.C. 1331 (Federal question),
and Plaintii`f invokes this Court"s supplemental jurisdiction pursuant to 28
U.S.C, 13 67 to hear Plaintiff’s pendent state tort claims; venue properly
lies in the UNITED STATES DISTRICT C()URT FOR THE WESTERN
DISTRICT OF MISSDURI of the State of`Missouri pursuant to 42 U.S.C.
1391 (b) and (2) in that Defendants reside in lackson County, and a
substantial part of the events or omissions giving rise to Plaintiif’s claims
occurred in Jackson County, Missouri.
Additional jurisdictional and venue claims merit this Cornplaint to be
afforded judicial review on behalf of Plaintiff.
Jurisdiction is further invoked pursuant to and is based upon:
28 U.S.C. 1331, in that it is a civil action arising under the laws of the
United States, and the First, Fifth, Seventh, Ninth, 'l`enth, Amendments to
the Constitution of the United States, (federai question);
28 U.S.C. § 1346, United States as a Defendant (Public Defender);
28 U.S.C. § 1361, An action to compel an oflicer of the United States to
perform his duty;
28 U.S.C, § 1366, Construction of reference to laws of the United States or
Acts of Congress;
28 U.S.C. § 1349, Corporation organized under federal law as party;
32 U.S.C. § 102(3), Federally recognized agencies as all Defendants, named
and unnamed are all employees, fenner employees, agents or consultants of
the United States Federal Govermnent;
28 U.S.C. § 1343 (a)(2)(3), Civil rights and elective franchise and 42 U.S.C.
§§ 1983, 1985 and 1986, in conspiracy and or failure to act and prevent

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criminal violations of civil rights;

and 'l`itles 28 U.S.C. 2671.

Jurisdiction is further invoked pursuant to 'Iitle 28 USC Section 1331 and
(Bivens v. Six Unknown Agents 403 U.S. 383, 91 S. Ct. 1999 (1971)
because the defendants were acting under color of Federal Law.

28 U.S.C. § 1332(a)(1), in that there is complete diversity of citizenship and
the amount in controversy exceeds the sum of $75,000.00, exclusive of
interest and costs;

18 U.S.C. §§ 1961(1) (A), (1)and (l) (D)', and 1964(a)(c), Racketeer
lnfluenced and Corrupt Organizations Act (RICG Act) civil remedies and
Bivens v. Six Unltnown Narcotics Agents, 403 U.S. 388 (1971),
compensation for victims of "constitutional torts" by federal actors; and
28 U.S.C. § 2201, declaratory and injunctive relief as deemed necessary
Venue is proper in this Court pursuant to 18 U.S.C. Section 1965 (a)
because Defendants reside, are found, operate under color of authority or
office, have agents, or connected with or related to the aforesaid and
transact affairs in this district

Venue is also proper in this Court pursuant to 18 U.S.C. Section 1965 (b)
because, to the extent any Defendant may reside outside this district, the
ends of justice require such Defendant(s) to be brought before the Court.
Venue properly lies in this Court pursuant to 28 U.S.C. Section 1391 (b) (2)
or, alternatively, pursuant to 28 U.S.C. Section 1391 (a) (2)‘

Further, certain of the conspiratorial acts alleged herein took place and
continue to take place Within this judicial district

Any and all Defendants, named and unnamed Who are employed With, Were
employed with, contracted with and connected to Defendant USA, can be
compelled through order and/or subpoena power of this federal court to be
subjected to discovery or otherwise appear before the court under federal
law, or the Code of Federal Regulations or other process to establish venue
in this Honorable Court. And the ends of justice require this matter to be
heard in this Distriet.

Venue properly lies in this Court pursuant to 28 U.S.C. Section 1361 gives
Citizen the right to obtain a ludicial Order addressing misconduct

Venue properly lies in this Court pursuant to 49 U.S.C. Section 1487 Writ
of Injunction.

Venue properly lies in this Court pursuant 18 U.S.C. 4 Federal Reporting
Crimes Act.

Venue properly lies in this Court pursuant to Due Process of Law,
Obstruction of .Iustice, Malicious Prosecution, Bad Faith Prosecution,

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selective prosecution is occurring

Charges were dropped by Kansas City, Missoari, after being contacted by
Federal Assistant Public Defender Charles Szekley while the Plaintii`f was
held as a Political Prisoner in 1992-1993. Otherwise the Plaintiff would not
have been released by Federal Detention as stated by Charles Szekley.
(See: Exhibit # 2 Case # CR92-356 Dismissed with Preiudice Aug. 20,
1993)

(See: _I§§_hibit # 3 S&L Whistle-blower faces federal alleges Seot. 1992
Houston Chronicle Newspapei;)

II.

PARTIES
2. Plaintiff, Stewait Anthony Webb was at all times relevant to this
Cornplaint a resident oflackson Coanty, Missouri. Except while being held
illegally in Federal Detention.
(See: Exhibit # 2 Case # CR92-356 Dismissed with Preiudice Aug. 20,
l 993 1
(See: Exhibit # 3 S&L Whistle-blower faces federal charges Sept. 1992
Houston Chronicle Newspaperl
§§ee: Exhibit #4 U.S. Denartment of Justice psychological eva_l_l_l_l_ation.MaY

6, 19931

3. Defendant, Kansas City Missouri Police Department, is and was at all
times relevant to this Complaint, a political subdivision of the State of
Missouri which derives its revenue from an apportionment of taxes from
Jackson County and the City of Kansas City, located in and with none-
exclusive police jurisdiction within Iackson County, Missouri. 1125 Locust,
Kansas City, Missouri 64i06

4. Board of Police Coinmissioners for Kansas City, Missouii is and was at
all times relevant to this Compiaint, a police officer employed by Kansas
City, Missouri Police Department working within the course of his
employment with Kansas City, Missouri Police. 1125 Locust, Kansas City,
Missouri 64166

5. Defendant, Ofiicer L. Taylor Serial No~: 3524 Unit SPD (Taylor), is and
was at all times relevant to this Complaint, a police officer employed by
Kansas City, Missonri Police Departrnent working within the course of his

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employment with Kansas City, Missouri Police. 1125 Locust, Kansas City,
Missouri 64106

6. Defendant, inicer R. Stewart Serial No: 2795 Unit AIS is and was at all
times relevant to this Complaint, a police officer employed by Kansas City,
Missouri Police Department working within the course of his employment
with Kansas City, Mi.ssouri Police. 1125 Locnst, Kansas City, Missonri
64106

7. Defendanls, Kansas City Missouri Police Department .lailers unnamed

is and was at all times relevant to this Complaint, a police officer employed
by Kansas City, Missouri Police Departrnent working within the course of
his employment with Kansas City, Missoui:i Polioe. 1125 Looust, Kansas
City, Missouri 64106

8. Defendant, Judge Roach 1101 Locust Court Room H, Kansas City,
Missouri 64106 is and was at all times relevant to this Complaint, a
Municipal lodge employed by and in The Circuit Court OfMissouri Kansas
City Municipal Division, 1101 Locnst Conrt H, Kansas City, Missouri
64106.

9. Kansas City, Missouri Municipal Prosecutors unnamed is and was at all
times relevant to this Complaint, a Municipal Prosecutor’s employed by and
in The Circuit Conrt Oi` Missouri Kansas City Mnnicipal Division, 1101
Locust Court H, Kansas City, Missouri 64106, and Kansas City, Missouri.

10. United States Public Befenders Oflice

Assistant Public Defender Charles Szekely Denver, Colorado

is and was at all times relevant to this Complaint, an Assistant Public
Defender with the U.S. Pubiie Dei`enders Ofliee, 633 17th Street Suite 1,00{)
Denver, Colorado 80202.

See: Exhibit # 2 Case # CR92-356 Dismissed with Preiudice Aug. 20, 1993)
(§ee: Exhibit # 3 S&L Whistle-blower faces federal charges Sept. 1992
Houston Chronicle Newsoaoe;)

III.
FACTS

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ll. That the Plaintiii` Stewart A. Webb is a Nationally known Federal
Whistleblower/lnfonnant¢$ee Exhibit #3 Saving & Loan-HUD
Whistleblowerl

See: Exhibit # 2 Case # CR92-356 Dismissed with Preiudice Aug. 20, 1993)
That the Plaintiff Stewart Webb has exposed Corruption relating to “The
Bush Crime Family” and the Denver Connections. Leonard \’. Millrnan who
operated the Denver Connections as an Ongoing Continuous Criminal
Enterprise under Federal & State “RICG” Laws and Statues, and was
Plaintiff Stewart A. Webb’s former father in law. leonard Millman has been
implicated and exposed by Plaintifi` Stewart Webb in illegal activities since
first reporting to the FBI on june 6, 1986.

(See: Exhibit # 5 page l of 1 FBI Report KC 183-0 was/him June 2, 1986)
(Manv of Leonard Millrnan”s associate and partners have been Indicted,
Convicted and Sentenced to P ederal Prisons)

After reporting to Kansas City, Missouri FBI Plaintifl` Stewart Webb
experienced a continuous pattern of F also arrests by area Police
Departments Know as Red Squad Unites.

These Red Squad Units some operate out of local Police Departments
Intelli-gence Units, which are operating Iiiegal under color of law, and are
part of a Ille_gal Shadow Government within Government.

Kansas City, Missouri Police, has arrested Plainti:&` Stewart Webb on
numerous occasions of false traffic ticket violations, which have all either
been dismissed or Nollis Pro, Charges dropped by the Kansas City, Missouri
Prosecutors Oflice. From 1986-1991.

(See: Exhibit #6 Letter Nov. 18 1987 by Attornev Benny Harding to Kansas
Citv. Missouri Police)

(See: Exhibit #7 Letter Nov. 19, 1987 by Kansas Citv, Missouri Policc
Depa;_tment to Attornev Bennv Harding)

Some Falsified NCIC Records by Kansas Citv, Missouri

gSee: Exhibit # 8 page l of l State of Missouri Higmvav Patrol Print out,
note CAU'HON i CAUHON l CAUT{ON l Dated 08~{}9'-88)

(See: Exhibit # 9 pages 1-12 NCIC Open and Closed records reported bv
§§n:sas Citv Missouri Police and other departments.)

This is evidence in the falsified NCIC Compnter records and Kansas City
Missouri Police ()pen and Closed records on Plaintift` Stewart A. Webb.

All these illegal arrest were ordered by CIA Leonard Y. Millman using
Governmental Personnel for illegal acts and retaliation against Plaintiff
Stewart A. Webb for exposing the criminal acts of Leonard Y. Millman and

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his criminal associates, in violations of 18 U.S.C. 1010-1015, Retaliation
against informants and witnesses

Plaintiff Stewart Webb had provided evidence to the FBI, the Congress, the
Senate, lnspector General of various agencies including HUD,

which has lead to convictions of various Criminal Elements within
Government and part of Leonard Millman’s Crime syndicate, aka The Bush
Crime Family Denver Connection between 1986-1991, when Plaintiff
Stewart Webb was being falsely arrested by Kansas City Missouri Police.
(See: Exhibit # 10 page l of 1 From Congress of the United States to
Plaintiff Stewart Webb rega_rding HUD Hearings 8 September 1989 signed
by Lisa Phillips)

(See: Exhibit #ll page 1 of l IR.S Criminal lnvestigative Information Item
on Leonard Mi'llman Sept 1990`)

(See: Exhibit #12 page l of l lRS Criminal investigative lnfonnation Item
on Leonard Millman’s MDC Holdings, Inc the Illegal CIA Bank Sept 1990)
(See: Exhibit #13 page 1 of 1 IRS' Criminal Investigative Inforrnation Item
on Leonard Millman’s Partner in Crime Denver UrS., Attornev Mike Norton
Se t 1990

(See: Exh-ibit #14 1 pagel of l IRS Criminal Invcstigative Information Item
on Leonard Millman’s Partner in Crime Assistant U. S. Attornev Robert
_(i_r_af Denver #14 Scpt 1990)

Plaintif’f Stewart A Webb has testified in a Grand lury Room before a
Federal lodge in April 1995, and the lodge Brenner of Wyoming
recommended a Major Federal Investigation of Leonard Millman and his
criminal associates Shortly thereafter Piaintiii` Stewart Webb was nearly
killed and Lt. Commander Ret. Oilice of Naval Intelligence the lran Contra
Whistleblower (who helped indict Iran Contra Col. Oliver North, Secretary
of Defense Casper Wineburger and other working with independent
prosecutor Lawrence Walsh) Martin was and is a witnesses of Plaintiff
Stewart Webb. Martin was illegally arrested and held under false charges
and a fictions name they gave him to hide Al Martin li'om the Media. Al
Martin worked with Leonard Millman and Millman’s Denver Connection
from 1981-1986.

Martin was a partner in lran€~ontra Activities with leonard Millman’s
Partners in Denver, Neil anh7 Gov. Jeb Bush of Florida, George W. Bush
now Non elected White House Occupant, George H. W. Bush and others.
Millman who deceased in Nov. 2003 and his death reported in Feb. 2004,
was involved in Iran/Contra, Narcotics Importation, Narcotics Money
Laundering, Real Estate Loan Frauds, Government Contract Frauds,

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Securities Frauds, Oil and Gas Frauds, Denver lnternational Airport Frauds,
HUD Frauds, Saving and Loan frands, Pension Funds Frands, the Financing
of Alqueda-Q-ll Terrorists and many other liauds. Blackrnail of Public
Oflicials, and Bribes of Pnblic Otiioials, FBI agents, ludges, Prosecutors,
and others within County State and Federal Governrnent. Leonard Millrnan
paid a personal and corporate fine of nearly $100 million dollars in 1998
and never went to jail. The fine was relating to some pay offs and bribes of
Governmental Officials and other frauds Leonard Millman owned
Silverado Savings and Loan of Denver Colorado Neil anh Director the
“CIA Illegal Narcotics Bank”.

(See: Exhibit #15 page l of l Letter to Congressman Dan Burton Nov. 30,

1 999. 1

(See: Exhibit # 16 pages 1-8 1995 Federal Grand jury Demand ease number
95-Y-107 filed Feb 27, 1995 Denver, Colorado by Stewart A, Webb)

§See: Exhibit #l7 pages l-19 Grand lury Motion to reopen case #95~Y-107
Dated .lnly 2003 and re-iiled Aug. 2004 by Stewart Webb)

Plaintit’f Stewart A. Webb Will show that since August 1984 a,continuous
activity of RACKETEERING against the Plaintiff, using Govemment
Personnel and civilians to silence the Plaintifi` from exposing the Criminal
activity of Leonard Millrnan has been conducted (and continues) so as to
deprive Plaintiffs of their Family Rights inherent in the Laws of the Land,
and as protected by the Ninth Amendment to the 'Constitution for the united
States of Arnerica.

Additional Attachments for this Claim as submitted evidence:
STALK!NG AND HARASSMENT QF PLAIN’I'IFF`STEWART WEBB
(See: Exhibit # 18 pages 1-6 Inden. Missouri Police Reports #90-14500
lane 29, l9901ndep. Police catch Orion Investigations of Overland Park,
l{__ansas Private Detectives Rodger Keltv and ex-FBI agent Charles P.
Stevens saving on Plaintiff Stewart Webb. Further BBS shot at Plaintiffs
vehicle in additional report.)

(Exhibit' # 19 Omittedl

DEATH TH

(See: Exhibit # 20 PAGES 1-10 CASE # 84-11745-2 Dallas, TX., Divorce
Com‘t Kerre (Milhnan) Webb, Stewart Webb, Amanda Webb Oral

Dep osition

Death Threats by Leonard Millrnan against Stewart Webb 1985)

(See: Exhibit # 21 Death' threat against Stewart Webb while held in Federal
Detention illegally in 1993. The Threat came from a Leonard Millrnan

Goon. l

 

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§See: Exhibit #22 page 1 of 1 Stewart Webb’s Vehicle neaer destroyed after
2 tires were blow eat en l 435 crossing she Misseuri R-iver. This same spot
one Year later an IRS Whistleblower had the exact same occurrence

ha n.

(See: Exhibit #23 page 1 of 1 Dec. 17, 1987 Independenee., Missom'~i Pelice
Report # 87-28349 Death T1n'eath Leonard Millman against Stewart
Webb)

GRANDJURY PETITK)N FOR TEMPORARY RESTRAINING
_(_)RDER AND PERMANENT INJUNCTION DATED Julv 73004.
(See: Exhibit #23 pages 1-7 Case # 95-Y-10‘7 Iulv 7. 2004 against Kansas
CityLMissouri Police Der.\artmem‘q Katlsas City Municipal lodge Roach,
George W. fagg and others named. Note: Stewart Webb Kev witnesses
Tom Heneghan Jz_md former Vice President Albert Gore Jr.)

gSee; E;d;ibit #24 griggs 1-2 Jul¥ hhs AMQR US Attome§: General
violates Julv 7. 2004 restraining@rder and using Justice Department to steal
Stewart Webb’s e-mails)

(See: Exhibit #1 nagesl -1 4 Aflidavit in Support of Motion for Restraining
_Qr_§l§r and Perrnanent Iniunction File Faxed July 28, 2004 ease #95-Y-107
Grand Iury Demand bV Stewart Webb)

,ADDITIONAL INFORMATION WRITTEN ABOUT S.TEW;A_BT A.
WEBB FEDERAL WHISTLEBLOWER/INFORMANT-Plaintiff
(See: Exhibit #25 pages 1-4'W`110 is Stew Webb Federal
Whistleblower/Infonnant)

(See: Exhibit #26 page 1 of l December 2004 Books Stew Webb
contributed to`f

(See: Exhibit # 3 S&L Whistle-blower faces federal charges Sept. 1992
Ho\._gston Chronicle Newspaper)

(See: Exhibit # 27 page 1 of 1 Sth 21j 1992 Letter to Public Defender
from Radio Talk Show Host Tom Valentine)

(SeiExhibit #28 Page 1 of 1 Pitch Magme Jan 15-21, 1992 Looking in
all the wrong places by Chuck Saults)

(See: Exhibit # 29 Pages.'1-4_Decem1)er 24, 1991 Whjte House Reporter
§ar*ah McClendon’s Washinp,ton Report)

(See: Exhibit #30 Pages 1-2 June 11, 1992 KABC Radio David Visc'ott and
the Fugitive from the FBI Stew Webb)

LSee: Exhibit # 31 Pag_e 1 of 1 Montgomery Countv, PA. The Observer Oct.
20, 1993 Exposing Govennnent Corruption)

fSee: Exhibit #32 page 1 of 1 Colorado Dailv Newspaper, Boulder,
ColorQo April 7-9 1995 Conspiracv theorist: Is he a crackpot or well

 

 

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connected?)

(See: -Exhibit~#33 pages 1-3 12-27-91 P»BI hunts for fugitive at writer’s
_h_ane_

with 2 page response by writer Margie Sloan about FBI.)

(See: Exhibit #34 Pages 1-8 lnside the Bush Crime Faniiiy Part 1 Dece;nber
1999 Media By Pass Maga_zine)

(See: Exhibit #35 Pages 1-16 lnsidc the Bush Crime Family Part 2 The
Contr_gl_Files: Blackmail of Cnngressmen and Senators May 2004 Media By
Pass Magazinei

(See: Exhibit # 36 pages 1-3 Time Magazine August 13, 1990 Rush for
_G_Q_l_d: How Silverado Ctnerated, _Stew Webb Contributor)

§See: Exhibit #37 pages 1-11 Time Magazine October 1, 1990 Running with
a Bad Crowd How'Neil 'Bus`h `1et himself get caught up in the `$1 Billion
Silverado debacle. .Stew Webb Contributor)

(See: Exhibit #38 page 1 of 1 Time Magazine check payable to Stew Webb
Time Magazine Correspondent Ionathan Beaty check payable to Stew 'Web`b
for expenses relati_ng to An&1990, &__Oct 1990 articlesl

STEWART WEBB PLAINTIFFS CURRENT ARTICLE

(See: Exhibit #39 pages 148 November 2, 2004 www.stewwebb.com
George W. Bush, the American People want the $300 Million you stole from
HUD? by Stew Webb)

 

 

12. ()n May 15, 1991 Plaintiff Stewart A. Webb Was illegally detained by
Kansas City vMissouri Police Offlcer R. Stewart Serial No. 2795 Unit AIS
resulting in three traffic vioiations charged against PlaintifftStewart A.
Webb:
# 06515416 Datecl May 15, 1991
# `06515415 Dated May 15, 1991
# 06515414 Dated May15, 1991

See: Exhibit #42 a e 1 of 1 three traffic violations D_ated May 15, 1991)
(See: Exhibit #46 pages 1-9 Motion for return of Bonds to idahst
Bo@manDated September 7, 2004)
Although Plaintiff Stewart A. Webb was not intoxicated and broke no traffic
laws, Gf&cerR. Stewart arrested and charged Plaintiif Stewart A. Webb,
resulting in illegal kidnapping, detention, false arrest7 and imprisonment of
Plaintiff and il1egally impounding Plaintiffs vehicle.
That Plaintiff Stewart A. Webb had to post Bends using a local Bonding
Company, that Bond $2,500.00 has been stole by Kansas City, Missouri
Municipal Courts and never returned to Bondsman.

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13. As evidence in May 15, 1991 Police report filed by Cilicer R. Stewart
it states Had rapid and profound rnood swings, went from begging, to
bragging that he was responsible for “Neil Bush’s going to jail. Stated that
his ex-wife was having an affair with Neil Bush, also stated that he was
giving the PBI a lot~of infonnation about spies in the Kansas City area

The above statements by Officer K Stewart Were all conjured, lies that the
Plaintiff never stated. This is a clear demonstration that Kansas City, Police
were apprised of the Plainti-§`s reporting of~Leonard Millrnan to various
Federal Agencies of Millman’s illegal activities The Plaintiii` never came
Public until September 19, 1991. This report was dated May 15, 1991.
§See: Exhibit #43 page 1-3 Pelice reports ii»ledrby Kansas Citv Police ()flice
R. Stewart May 15, 1991)

14. On Augnst 2, 1991 Plaintiff Stewart A. Webb was illegally detained by
Kansas City Missouri Police Oiiicer L. Taylor Serial No: 3524 Unit SPD
resulting in illegal kidnapping detention, false arrest, and imprisonment of
Plaintiff and illegally impounding Plaintiffs vehicle

That PlaintiH Stewart A. Webb had to post Bonds using a local Bonding
Company, that Bond $2,500.'00 has been stole by Kansas City, Missouri
Municipal Courts and never returned to Bondsman.

Resulting in three traffic violations charged against Plaintifi` Stewart A.
Webb:

# 06548320 Dated August 2, 1991 No court Date set Bond re-Posted March
15, 2004. Court. date to be May 24, 2004.

# 06548781 Dated August 2, 1991 Dismissed May 24, 2004

# 06548782 Dated August 2, 1991 Dismissed May 24, 2004

(See: Exhibit #41 three Trafl`ic violations dated August 2, 1991)

(See: Exhibit 40 pages 1-9 Motion for return of Bonds to Plaintiffs
Bondsman Dated September 7,_ 2_004)

15. On May 24, 2004 Kansas City Municipal lodge Ree'd Court D dismissed
two traffic tickets against Plaintiff Stewart Webb.

# 06548320 Dated August 2, 1991

# 06548781 Dated Augnst 2, 1991

The Honorable .Iudge Reed stated he did not have the 3rd ticket

# 06548320 Dated Aogust 2, 1991 No court Date set. Bond Posted on
March 15, 2004.

(See: Exhibit #41 three Traflic violations dated Agggst 2, 1991)

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16. Emergency Motion for Recusal of Judge Roach Court H Filed
Septernber 7 , 2004. To'date No -Recusal has been made and a hearing is set
for December 8, 2004 at 10:00arn.

(See: Exhibit #44 pages 1»16 Emergency Motion for Recusal of Judge
R~_Lach .Coart l-l Dated Septernber 7, 2004)

Exhibit #44 Serves as an Aflidavit of Plaintiff Stewart A. Webb,
showing Obstruction of Justice by Judge Roach

17. The PlaintiH`Stewart A. Webb reposted bonds 2 times in 2004

on the above charges that the Plaintiff had not even gone to court hearing
Judge Roach ordered the Second re-posting and illegal arrest on May 12,
2004 in his coi,u'troorn.

(See: Exhibit #45 pages 1-2 Bonds posted March 15, 2004)

(See: Exhibit #46 page 1 of 1 Bonds that had to be reposted Obstruction of
Justice By ludge Roach CQ_grt H. on May 12;_2004, Court was set for May
24, 2004 on these 2 charges before .ludge Reed. See Aflidavit for
Restraining Order and Pennanent vln'iunction)

18. Motion for Dismissal with prejudice filed September 7, 2004 of the
remaining 4 traffic tickets

# 065483 20 Dated August 2, 1991 No court Date set._ Bond Posted on

# 06515416 Dated May 15, 1991

# 06515415 Dated May 15, 1991

# 06515414 Dated May 15, 1991

(See: Exhibit # 47 pages 1-10 Motion for Dismissal with prejudice filed

`Scptem'ber 7, 2004')

19. Plaintiff Stewart Webb filed with the United States District Court
Federal Grand .lury 'Demand for Restraining Order on luly 27, 2004 against
Kansas City, Missouri Defendants.

§See: Exhibit # 48 pages 1-14 Aftidavit in Snpport of Motion for
Restraining Order and Permanent injunction Filed july 28, 2004 case
number Crirninal Case number Grand Jury Dernand 95-Y-107 Denver
Colorado!

This Exhibit #48 Serves as an Aflidavi"t of PlaintiB` Stewart A. Webb
20. Plaintiff Stewart A. Webb was held illegally on false and erroneous
Federal Charges orchestrated and brought by Plainti:li`s former~father-in-law
Leonard Millman, charges of threaten telephone calls on Sept. 18, 1991.
These false charges were dismissed on Aug 20, 1993.

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(See: Exhibit # 2 Case # CR92-356 Dismissed with Preiudice Aug. 20,
1993)

(See: Exhibit # 3 S&L Whistle-blower faces federal charges Sept. 1992
Houston Chronicle Newspaper)

(See: Exhibit #4 U.S. Department of .l‘ustice psychological evaluation May
6, 19931

The Plaintili` Stewart A. Webb had to hide for his life because of F ederal
reporting against Crirninal Leonard Millrnan.

Otherwise the Plaintiff would have been in Kansas City Court Oct. 1991 to
face the 6 traffic tickets that Were falsely levied against the Plaintiff by
pressure and Political poll from Millman association with George H. W.
Bush.

Plaintiff made enough noise on Radio 'l`alk Shows as a guest from 1991-
1992 prior to Plaintill`s false arrest by Federal agents, that the Plaintift` was
not killed.

The Plaintiff Stewart Webb while held by Federal Authorities in Federal
Detention in Denver Colorado, was told that the PlaintiH could not be
released until outstanding Kansas City Missouri Traffic warrants were dealt
With.

(See: Exhibit # 3 S&L Whistle~blower faces federal charges Sept. 1992
Houston Chronicle Newspaper stating outstanding KCMO tickets)
Plaintiff was told by Federal Assistant Public Defender Charles Szekley
that he would notify Kansas City Police and Prosecntors that Plaintiff
Stewart Webb was in federal detention and that if Kansas City,
Missouri wanted to proceed with prosecution that the Feds were ready
to transfer Plaintiff Stewart A. Webb to stand charges of these outstaod
six traffic violations stated here in this claim. Kansas City, Missouri
according to Charles Szeklcy, stated they were dropping the charges
against the Plaintiff Stewart A. Webb, otherwise Federal Detention
would not have released the Plaintiff Stewart A. Webb.

On March 15, 2004 13 years later Plaintiff Stewart Webb was arrested
by Independence, Missouri Pollce for outstanding 13 year old warrants
of 6 tickets. The Plaintiff posted Bonds.

Affidavit of Plaintiff Stewart A. Webb in Supp_qrt of Motion for

Restraining Order and Permanent In}'unction
Decernber 7 , 2004

TO: "mailto:Court@kcmo.org" Clerk Of The Court Kansas City, Missouri.
Fax 816 513-3863
COPY TO: IN TI-IE UNITED STATES DISTRICT COURT FOR THE

 

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DISTRICT OF COLORADO

CR_IMINAL DIVISION CASE Number: 95-Y-107 Filed Feb. 27, 1995
U.S. District Judge Richard Matsch RE-Filed This Date: July 3, 2003

U.S. District Court Clerk 303 844-3433 Fax 303-335-2714

'I'his serves as an Affidavit of Stewart A. Webb in support of request for
Restraining Order & Injunctive relief against Kansas City, Missouri
Police, Kansas City Missouri Courts, Kansas City Jndge Roach. Filed
this day July 28, 2004 U.S. District Court for the District of Colorado
Criminal ease 95-¥-107 re filed July 3, 2004 and Ternporary
Restraining order filed July 7, 2004 Anlended.

4109 S. River lndependence, Missouri 64055

816 478 3267

"httQ://www.stewwebb.corn"

contact: "mailto:stewwebb@stewwebb.com"

Under 18 U.S.C. 4 Federal» Reporting Crimes Act this serves as notice a
Crime has and is being committed by someone and person in Kansas
City, Missouri Courts, Clerks, Police, Judges.

Further Notice this court under 28 U.S.C. 1361 Gives a citizen the right
to obtain a Judicial Order Addressing Misconduet.

As evidenced this day of Jnly 28, 2004.

Third Notice for Answers for Pending Charges, in Kansas City,
Missouri.

Under 18 U.S.C. 4 Federal Reporting Crimes Aet. l am asking for direct
answers

Your answers will be submitted to proper Court & other authorities, your
lack to answer will result in

charged that will be filed against you, addition "RICO".

Further as a defendant with illegal charges pending in your Kansas City,
Missouri courts from 1991 traffic violations,

that Were dismissed in 1993.

I requested the following on July 22, 2004. first request and first answer
by your clerks:

see attached in this e-mail.

I further requested the same answers on .Iuly 23, 2004, second request
and second answer by your clerks:

see attached in this e-mail.

I have not received all the answer to my requests.

There are other pending charges, obviously you will or cannot answer.
FIRST FOR THE RECORD: in 1991 these charges were filed against me as

 

 

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part of a illegal

Raclceteering to Obstnict Iustice By Leonard Millrnan and George H. W.
Bush using the lntel. Division

"Red Squads" of the KCMO Police, with lodge Roach & others unnamed.
SECOND FOR THE RECORD: In 1991 to further their racketeering
against me Stewart A. Webb as a Federal Whistleblower protected at the
time under the Nation Federal Whistleblower protection act, an illegal
warrant was issued from the US Attorney in Denver a Partner of Leonard
Millman my former father in law, an illegal lran Contra money launderer.
This warrant resulted in near death to me as a result of FBI, therefore 1 had
to hide, otherwise 1 would have been to Kansas City Court and addressed
the illegal tickets when scheduled in September and Oct. of 1991 .

Instead warrants were issued. In 1992 1 was in Federal Detention Held
Illegally as a Political Prisoner those charges were dropped with Prejudice
after being held illegally for 101/2 months, by Federal Judge Richard
Matsch. During the incarceration U.S. Public Defender Denver Charles
Szekely informed me that 1 could not be released until the 6 tickets in
Kansas City were handled, and under law that they were going to put a
request in to Kansas City, Missouri Police and Courts through proper
channels to see if Kansas City wanted to either,_ transport me Stewart Webb
to appear on these false charges or drop the charges Kansas City replied
that the charges would be dropped I was told this by Asst. Public Defender
Charles Szekely, and Bureau of Prison personnel, otherwise l could not be
released from Federal Detention.

Obviously these Kansas City, Missouri charges/tickets were not dismissed
This is additional "RICO" and other Crimes against me (42 USC l983--and
more), Stewart Webb by Kansas City, Missouri. I was told they had been
dismissed, because l was release by The United States District Court in
Denver Judge Richard Matsch. And the Charges were dismissed in Aug. 20,
1 993 .

The below tickets and harassment by Kansas City Missouri Police and
The Courts over a 5 year period from 1986-1991 was direct violations of
Federal and State Laws. Retaliation against a Federal Whistleblower
using Government Enrployees to do Leonard Millman & George H. W.
anh's dirty tricks game and retaliations for the National Scandals and
Crimes I Stewart Webb Exposed that Leonard Millman and George
Bush were involved with, including George W. Bush.

Further your NCIC posting have been manipulated, falsified and in
direct violations of Federal Laws. Additional "RICO".

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On March 15, 2004 I was arrested by Independence, Missouri Police for
outstanding warrants by Kansas City, Missouri from 1991. The
following are the tickets l was Bonded out on and are CURRENT
B()NDS.

Buckley Bonding Company Indepenendence, Missouri

First Bond for tickets: Bonded March 15, 2004 from Indep. Missouri
Police Department Jail.

T his Bond is Current with Court Date Scheduled Sept. 8, 2004 at IUam
court H. lodge Roach.

First appearance on May 12, 2004 before Judge Roacb court H, Judge
Roacb scheduled for Sept. 8, 2004.

Ticket number 0651 541 5 issued May 15, 1991 .

Ticket number 065 15416 issued May 15, 1991 .

Second Bond for tickets Bonded Marcb 15, 2004 from fndep. Missouri
Police Department Jail.

First appearance on May 24, 2004 10 am Court D. Judge Reed.

Ticket number 06548782 issued August 2, 1991.

Ticket number 06548320 issued August 2, 1991.

Ticket number 06548781 issued August 2, 1991 .

 

When I appeared before Judge Roach Court H on May 12, 2004 he
scheduled the above 2 tickets

Ticket number 06515415 for Sept 8, 2004

Ticket number 06515415 for Sept 8, 2004

I further told Judge Roach these tickets had been dismissed in 1993, Roach
stated they had not been, Roach was belligerent, rude and state he ledge
Roach had 2 more tickets and warrants for my arrest After I told ludge
Roach A Federal Grand Jury Demand Dated July 3, 2004 had been
requested regarding criminal activity of Kansas City, Missouri Police
involving RICO against me Stewart A. Webb, from 1986-1991 had occurred
and a copy was handed to Judge Roach informing him of this pending
request ledge Roach claimed l was in contempt of court and sentenced to
30 days in jail. Those charges were never levied, but I was arrest for the
second time this year for the same tickets, I was and am on a Current
Bond Dated Mareh 15, 2004 through Bnckley Bonding». This is A
Violation of Law, and additional RICO, which false under the RICO
Racketeering Influence and Corruption Organization Laws.

These were ticket members 0654878-1 and ticket number 06548782, these

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two tickets l posted a bond on March 15, 2004 with the lncleperidence,
Missouri Police to bail out of lail, and was scheduled to appear on May 24,
2004 before Judge Reed Court D.

This means l Stewart Webb had to post a second bond for the same charges,
l bonded out of lail held by Kansas City, Missouri Police.

This is ongoing Obstruction of Justice and Continning "RICO" against
me Stewart A. Webb a defendant in pending illegal traffic tickets by
your Courts~, from 1991.

I appeared on May 24, 2004 before lodge Reed and these 2 tickets were
dismissed.

First appearance on May 24, 2004 10 am Court D. lodge Reed.

When I appeared Judge Reed Court D, Judge Reed stated he only had 2
tickets not three.

lodge Reed dismissed the following 2 tickets

Ticket number: 06548781 Disrnissed By lodge Reed on May 24, 2004 Court
D

Ticket number: 06548782 Dismissed By lodge Re_ed on May 24, 2004 Court
D

 

MY QUESTIONS TO YOU CLERKS OF THE COURTS??

I. WI-IO IS BEHIND "l’HE MANIPULA'I”IONS OF YOUR COMPUTERS
NOT SHOWING THE BC}NDS AS STATED ABOVE??

2. SECOND QUESTION: SINCE THERE ARE 2 OTHER TICKETS
WHICH l HAVE POSTED BONDS, l'i` lS UP

TO YOUR OFFICE TO DO YOUR DUTY. AND GET THIS
INFORMATION U`P TO DATE, IN YOUR C`OMPUTERS.

3. These 2 other tickets one was scheduled for May 24th before lodge Reed,
he stated he only had 2, and dismissed those as stated above. One ticket was
never heard, What date will this be herd and before whom?

4. lt would be obvious to say that warrants are pending , even though l am
out on Active Current Bonds through Buckley Bonding Company. ls this
another attempt to falsely create an arrest me Stewart A. Webb?

5. l demand these warrants to be dropped immediately and Bonds to
Continue, I further want the schedule for the 2 outstand tickets that one was
schedule on May 24, 2004 the other on May 12, 2004.

6. l want this cleared up immediately, l further expect an answer to the
above.

7. l want to know what has happened to the original $ 2,500.00 Two

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Thousand Five Hundred Dollars in Bonds

that Were posted in 1991 regarding the above tickets Were these Bonds
returned to the Bondsman????

Recently the Bonding Companies claim they were not returned Who Keep
the money???

8. Enclose as attached in this e-mail letter to Kansas City Missouri Court is
a copy of

my current Federal Grand Jnry demand for Restraining Order and lnjunctive
Relief against

Kansas City, Missouri Police and Kansas City, Missouri Court, and lodge
Roach.

 

TO: "mailto:Coun@kcmo.org"

TO: IN THE UNTTED STATES DISTRICT CGURT FGR THE DISTRICT
OF COLORADO

CRIMB\IAL DIVISION CASE Nnmber: 95-Y-107 Filed Feb. 27, 1995
U.S. District lodge Richard Matsch RE-Filed This Date: July 3, 2003
U.S. District Court Clerk 303 844-3433 Fax 303-335-2714

Further Evidence of Obstruction of Justice, Retaliation against Stewart A.
Webb Federal Whistleblower

in Violations of 18 UES.C. 1010, 1012, 1013, 1014, 1015.

A copy of this e-mail letter & notice to Kansas City Missouri Courts filed
With the U.S. District Court Denver Colorado Case number 95-Y-107 re-
filed July 3, 2003 and motion for restraining order Restraining Order &
Permanent Injunction Relief filed July 7, 2004 Amended.

This Letter serves as an Aftidavit of Stewart A. Webb Federal
Whistleblower/ Vice Presidential Candidate

"http://Www.stewwebb.com" "http://Www.HeneghanWebb2004.corn"
Contact: "rnailto:stewwebb@stewwebb.com"

Under 18 U.S.C. 4 Federal Reporting Crinies Act this serves as notice a
Crirne has and is being committed by someone and person in Kansas City,
Missouri Courts, Clerks, Police, Judges.

Further Notice this court under 28 U.S.C. 1361 Gives a citizen the right to
obtain a Judicial Order Addressing Misconduct.

As evidenced this day of luly 28, 2004.

Thank you l await your answers to this very serious issues

Stewart Webb

Federal Whistleblower

 

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"http://www.stewwebb.com"
contact: "mailto:stewwebb@stewwebb.com"

 

First Request for information from KC Courts by Stewart Webb

July 22, 2004

To: Mr. Bernard E. Schneider "mailto:court@kcmo.org"

Court Administrator

Sixteenth ludicial Circuit Court of Missouri (Municipal Court)

Kansas City Missouri

Sent this date by entail "mailto:court@kcmo.org"

l am in need of contact phone number and fax filing phone number.
Second in reference to pending traffic violations, l need the ticket numbers
you show in your records of pending charges The court date and time and
the Judge. Further l need copies of May 12th 2004 Dismissals in lodge
Reeds Court.

l further need what you show pertaining to current bonds, and tickets

lt seems there is a mix up. l posted bonds 2 times and l was told you still
have your records messed up.

Please respond.

Stewart A. Webb 492 60 2726

Thank You

Stewart Webb

"mailto:stewwebb@stewwebb.com"

Attached Temp Restraining Order Arnended Filed luly 7, 2004

 

Second Request for information from KC Courts by Stewart Webb
July 23, 2004

To the clerk of KCMO Court.

Court@kemo.org

I asked for answers to the following enclosed

Your response addressed only part of my legal request
Please address and answer my questions

See the enclosed request (Second request)

Details of time and date of hearings for pending charges
Do you show current bonds for these charges

State ticket numbers and which charges are pending

State your name for the record, to who this correspondence
is received by.

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Stewart Webb Federal Whistleblower

Vice Presidential Candidate

www.stewwebb.com

stewwebb@stewwebb.com

Original Message:

Attached Temp Restraining Order Amended Filed July 7, 200

 

 

ANSWER TO FIRST E-MAIL REQUEST BY STEWART WEBB OF
KANSAS CITY, MISSOURI MUNICIPAL COURT CLERK

From: <Conrt@kcmo.org>
To: Stew Webb <stewwebb@sierranv.net>
Subject: Re: Important

Date: Fri, 23 Ju12004 14:11:57 -0500

Subject: Re: lmportant

06515415 & 06515416 court date 09-08-04,10:00 room H

The ticket you wish to have a copy of the disposition you will need to
bring in $Z for a transcript fee to 1101 Locust

ANSWER TO SECGND E-MAIL REQUEST B¥ STEWART WEBB
OF KANSAS CITY, MISSOURI MUNICIPAL COURT CLERK

From: <Court@kcmo.org>
To: <stewwebb@sierranv.net>
Subject: Re: Important

Date: Wed, 28 Jul 2004 08:57:52 -0500

PENDING TICKETS: COURT DATE:

6515416- NO PROOF GF INSURANCE SEPTEMBER 8,2004,
lO:OOAM,ROOl\/l l-l

6515415- DWl " "

NO RECENT BOND SHOWING

 

Kansas City, Missouri Police Department. (Unnarned co-conspirators)
Additional Yet Unnamed Defendants 1-5000 and Co-Conspirators

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Defendants,

PETITION FOR TEMPORARY RESTRAD~IING

ORDER AND PERMANENT INIUNCTION

COMES NOW, PlaintiEs, Stewart A. Webb F ederal Whistleblower a Vice
Presidential Candidate "http:!!Www.heneghanwebeOM.com!",
"http://WWW.steWWebb.com/" and files this Petition for a Ternporary
Restraining Order and Pennanent lnjunction and in support thereof, would
show the following

1. Judge Roach Kansas City Municipal Iudge is an adult resident citizen of
Kan-sas City, Missouri, County, of Jackson.

2. Kansas City, Missouri Police Department "Red Squads" unknown persons
is an adult resident citizen of Kansas City, Missouri County of Jackson.

3-. Kansas City Missouri Police Department

1125 Locust, Kansas City, Missouri 64106

4. Board of Police Commissioners for Kansas City, Missouri

1125 Locust, Kansas C`ity, Missouri 64106

acting in personal-individual capacity

5. Kansas City Missouri Police Otiicer L. Taylor Serial No: 3524 Unit SPD
(Taylor), acting in oUcial capacity

6. Kansas City Missouri Police Oflicer R. Stewalt Serial No: 2795 Unit AIS
71 Kansas City Missouri Police Department Iaifers unnamed

1125 Lo'cust, Kansas City,¢ Missouri 64106

8. Judge Roach 1101 Locust Court Room H, Kansas City, Missouri 64106
9. Kansas City, Missouri Municipai Prosecutors unnamed

1101 Locust, Kansas City, Missouri 64106,

10. United States Public Defenders Oftice

Assistant Public Defender Charles Szekeiy Denver, Colorado

633 17th Street Suite 1,000 Denver, Colorado 80202

l. Since the time that Plaintifl` Stewart A. Webb re-tiled for Motion to
present evidence before a Federal Grand fury case # 95-Y-107 Jnly 2. 2003,
Defendants Leonard Millman (Deceased Nov 2003) and George W. Bush
White House Occupant, have knowingly and willfully have engaged in a
pattern of conduct of threatening and harassing Plaintiii` Stewart Webb and
Plaintiff's \Vltnesses Presidential Candidate Thornas Heneghan and former
Vice President/The Duly Elected None Inaugurated President of The United

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States Of Ameriea Albert Gore Jr. Specitically, False arrests of Stewart
Webb and false arrests of Toin Heneghan's partner. Defendant’s goon's have
threatened to kill Stewart Webb, Thornas Heneghan, and Albert Gore Jr.
Defendants are illegally wiretapping the telephones of the Foriner Vice
President Al Gore Jr. and are illegally wiretapping the Telephone of
Presidential Candidate Thomas Heneghan and Vice Presidential Candidate
Stewart Webb.

3. George W. Bush, the Denver FBI, Leonard Millnian prior to his death and
others have engaged in illegal activity, of harassment, death threats,
telephone harassment, internet harassment, death threats by telephone
communications against witnesses of the Plaintifl` Stewart Webh. Sorne of
these witnesses include Albert Gore Jr., Thornas Heneghan, Radio Talk
Show Host Jererny Floyd, Prophetess Linda Newkirk and others Many
witnesses are unnamed at this time. Soine of these threats were done by the
above named co-conspirators, Tiinothy White, Lan'y Lawson, Ted L.
Gunderson, Brenda Negri, and others for and in behalf of George W. Bush,
George I-I.W. Bush, Narcotics Money Launderer Leonard Yale Millman and
Elaine Ruth Millman of Denver, Colorado.

4. Municipal Court Judge Roach ofKansas City Missouri has engaged in
illegal activity, Gbstruction of Iustice and "RICO" against the Plaintit`t`
Stewart A. Webb pertain to traffic ticket charges that were dismissed while
the Plaintiff was held as a Poiitical Prisoner in Denver Federal Detention
from Sept 1992-lilly 1993. The Charges the defendant was held on that were
levied by Leonard Millman were dismissed with Prejudice Aug 20, 1993 by
Federal Judge Richard Matsch. Roach has acted as a CO-Conspirator in
"RICO“ against Plaintift` Stewart Webb on May 12th 2004.

5. The Plaintiff Stewart Webb Re-iilled a Motion to Present Evidence and
Witnesses before a F ederal Grand july on July 3, 2003. The evidence would
show RICO, TREASON, ECONGMIC PLUNDER, NARCOTICS
TRAFFICKING INTO THE UNI'[ED STATES AND MONEY
LAUNDERING THEREGF, SECUR¥T{ES FRAUD, BANK LOAN
FRAUD, FALSE CLAJMS AGAINST THE UNITED STATES OF
AMERICA, GOVERNMENT CONTRACT FRAUDS, HUD FRAUDS,
AND OTHER HIGH CRIMES`, AND FELON}ES, INCLUDING
MURDER, ATI'EMPTED MURDER, BLACKMAIL OF US
CONGRESSMAN AND US SENATGRS. THAT THE NAMED
DEFENDAN'}"S WERE INVGLVED.

TO THIS DATE JULY 6, 2004 THE PLAINTIFF AND PLAINTIFF'S
WITNESSES HAS BEEN DENIED TH.E OPPORTUNITY TG PRESENT

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EVIDENCE AND TESTIMONY BEFGRE A FEDERAL GRAND
JURY...WHY???? AND MQTION '1`0 PRESENT WAS MADE ON JULY
6TH, 2003....

6. As the proximate and foreseeable result of irrational, hostile, abusive and
threatening conduct, and their intent and apparent ability to carry out the
threats made by George W. Bush, Richard Cheney, George H.W. Bush. lohn
Ashcroft, Donald Rumsfeld and others, who have murdered, raped,
kidnapped, and illegally arrested and jailed Whistlehlowers and Infonnants
are in fear for their safety.

WHEREFORE, Plaintifi`s Stewart A. Webb and Witnesses Presidential
Candidate Thomas G_i Heneghan and Former Vice President Albert Gore Jr.
The Duly Elected and None lnaugurated President Of The United States Of
America., request that this Court enter a Temporary R.estraining Order
against the above named defendants and C0_Conspirators prohibiting them
from contacting The Plaintiff Stewart Webb or any of his named or unnamed
witnesses, by telephone, letter, or by any other means or method of
communication and prohibiting them from coming to within 1000 Yards of
the Plaintiffs Home or the Plaintiffs witnesses homes and/or place of
business or otherwise coming within five hundred (100) yards of or any
employee thereof.

MOTION FOR PERMANENT INJUNCTION

5. Stewart Webb, Thomas Heneghan, Albert Gore Ir. and other Grand Jury
witnesses, including Linda Newkirk, leremy Floyd and other unnamed
witnesses incorporate herein by reference the allegations contained in
Paragraphs 1 through 6 above

6. Plaintifl` Stewart A. Webb and Plaintiffs witnesses Thomas Heneghan and
Albert Gore request that the Temporary Restraining Order remain in effect
until such time as a hearing can be had on the merits of this cause, at which
time that a Permanent Injunction be issued prohibiting any contact between
the parties on a permanent basis.

WHEREFORE, PREMISES CGNSIDERED, PLAIN"HFF Stewart A. Webb
pray for the following relief:

A. A Temporary Restraining Order prohibiting the above named and
unnamed persons from contacting Plaintii`f Stewart Webb, and Witnesses
Thomas Heneghan or Witness fenner Vice President Albert Gore Jr., and
either of their employers; and

B. A Perrnanent lnjunction prohibiting any contact between the parties on a
permanent basis; and

C. Other such relief as the Court deems just and equitable

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DATED this the 7th day of Decernber 2004.
Respectfally s,ui')rnitted7
Stewart A. Webb

 

STATE OF Missouri

COUNTY OF Jackson

CERTIFICATE OF SERVICE

I, Stewart A. Webb, do hereby certify that I have requested that this Court
order United States Marshals to serve the Defendant’s due to the nature of
this case Involving Treason and attempted murder:

DATED this the 7th day December 2004.

Signed

Decernber 7 ,2004

    

" Stewart A. Webb
Bintiff to support a Civil C¥aim under the
Racketeering lnfluenced and Corrupt Oljganization Act (RICO)
Plaintiff incorporates by reference all prior allegations in this Complaint as
if set forth fnliy herein at length
Plaintiff asserts and will produce at trial, bona fide evidence showing
Defendants have engaged in a long “pattern of criminal activity” and on-
going pattern of “criminai obstruction of justice” constituting continual,
long-term criminal modus operandi that have the same or similar purposes,
results, participants, and victims and the threat of continuing activity,
interrelated by distinguishing characteristics
Plaintiff will establish a prima facie case under the RICO Act and due to his
“standing” and the courage to put a halt to this destructive course of
Defendants.
The following “patterns of criminal activity” and “obstruction of justice”
based upon Defendants and their will set the foundation for this RICO
claim.

Plaintiff, through the assistance of former federal employees as with the

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attached sworn affidavit of Plaintiff Stewart Webb will establish through
discovery and trial testimony the critical ties between Kausas City, Missouri
Defendants and Leonard Millman-Bush families to provide the foundation
to support this cause of action and specifically this RICO Act claim.

The bottom-line sinister fact to support Plaintiff’s Complaint and assertions
in his Affidavit.

Plaintiff will prove Defendants have engaged in both intentional and
deliberate violations of the RICO Act and the following are several
examples of along train of abuses directly by Defendant United States of
America and specifically Leonard Millman and the Bush Family:

Plaintiff believes it is noteworthy to close this RICG Act Count with the
observations of Canadian social philosopher John Mcany;

"To begin with, the forensic principle of 'who most benefits from the crime‘?'
clearly points in the direction of the Bush administration . .'The more you
review the connections and the sweeping lapse of security across so many
coordinates, the more the lines point backwards [to the White House}."

IV.
CAUSES OF ACTION
First Cause of Action
(42 U.S.C. 1983)

Officer R. Stewart, and /or Kansas City Missouri Police
Violated Plaintiff Stewart A. Webb’s constitutional rights pursuant to the
Fourth and Fourteenth Amendments by subjecting Plaintiff to an
unreasonable search and seizure without a warrant or probable cause with
use of excessive force causing Plaintiff Stewart A. Webb damages as
described herein for which Oflicer R. Stewart and /or Kansas City Missouri
Police are liable pursuant to 42 U.S.C. 1983.
Plaintiff Stewart A. Webb is further entitled to be awarded attorney’s fees as
part of costs of suit pursuant to 42 U.S.C. 1988, if Plaintiff hires an
Attorney.
Second Cause of Action
' i ce

Ofiicer R. Stewart negligently caused Plaintiff Stewart A. Webb damages as

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described herein

If Officer R. Stewart was acting within the scope of his employment with
Kansas City, Missouri Police and was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable for the damages caused
Plaintiff Stewart A. Webb by the negligent actions of Oflicer R. Stewart
under the doctrine of resggndeat supe_rior.

Third Cansc of Aetion
(False Arrest and Imprisonment)

Ofiicer R. Stewart falsely arrested and imprisoned Plaintifl’ Stewart A. Webb
for Operating a Motor vehicle upon a public street without, Operates motor
vehicle upon a public street when his privilege to do so was revoked,
Operate a motor vehicle while under the influence of intoxicating liquor as
described herein.

If officer K Stewart was acting within the scope of his employment with
Kansas City, Missouri Police and.was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable with Ofiicer R. Stewart
for the damages caused by Oflicer R. Stewart by the false arrest and
imprisonment of Plaintiif Stewart A. Webb under the doctrine of respondeat

superior.

Fourth Cause of Action
(Malicious Prosecution)

Ofticer R. Stewart maliciously has tried to prosecute Plaintiti` Stewart A.
Webb With lack of probable cause (no evidence), by holding over these
charges as described herein after telling Federal Authorities these charges
Were being dropped in 1993, while Plaintiti` was in Federal Custody.

If Officer R. Stewart was acting within the scope of his employment with
Kansas City, Missouri Police and was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable with Oflice R. Stewart
for the damages caused by Oflicer R. Stewart by the malicious prosecution
of Piaintiff Stewart A. Webb under the doctrine ofre ren§gg ntdea ts_t_rp§r_im'

Fifti_\ Cause of éction
(lntentional InRietion of Emotionai Distress)

Officer R. Stewart intentionally inflicted emotional distress upon Plaintifl`

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Stewart A. Webb by acts which would be considered outrageous to the
average member of society causing Plaintiff Stewart A. Webb severe
emotional distress all to his damage in an amount in excess of $250,000.00.
If Ofiicer R. Stewart Was acting Within the scope of his employment with
Kansas City, Missouri Poliee and was not acting wantenly, then Kansas
City, Missouri Poliee is jointly and severally liable With Officer R. Stewart
for the damages caused by Officer R. Stewart by the intentional infliction of
emotional distress upon Plaintiff Stewart A. Webb under the doctrine of

respondeat superior.

§§
wynn FOR RELIEF

W}ER£FORB, Plaintitf prays for judgment against Defendants as follows:

First Cause of Aetion
(42 U.S,C. 1983)

A declaration that Plaintii’fs constitutional rights Were violated

Special damages from Gflicer R. Stewart and/ or Kansas City, Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount of
$2,500.00 for Bonds not returned to Bondsman when charges were
reportedly dropped in 1993q

Special damages from Ofiicer R. Stewart and/ or Kansas City, Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount of
costs for Bonds on March 15, 2004 and May 12, 2004.

Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintiif vehicle $480.00.

General Damages from Of‘ficer R. Stewart and or Kansas City Missouri
Police jointly and severally, to Plaintili` Stewart A. Webb in an amount in
excess of $1,090,600.60.

Punitive damages nom Officer K Stewart to Plaintiil` Stewart A. Webb in an
amount in excess of SlG,GO0.00 each.

Attorney’s fees and costs of suit if Plaintit`f hires an attorney

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Secm_ird C§use of Action
(Negligence)

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Special damages from Officer R. Stewart and/ or Kansas City, Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount of
Costs for Bonds on March 15, 2004 and May l2, 2004.

Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintitf vehicle $480.00.

General Damages from Offrcer R. Stewart and or Kansas City Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount in
excess of $1,000,000.00.

Punitive damages from Oi’licer R. Stewart to Plaintift` Stewart A. Webb in an
amount in excess of 310,000.00 each.

Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Third Cause of Actioo

(False Arrest and Imprisonment)
Specia.l damages from Officer R. Stewart and/ or Kansas City, Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount of
Costs for Bonds on March 15, 2004 and May 12, 2004.
Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintiii` vehicle $480.00.
General Damages from Officer R. Stewart and or Kansas City Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount in
excess of $1,000,000.00.
Punitive damages from Oi’ficer R. Stewart to Plaintiii` Stewart A. Webb in an
amount in excess of $10,000.00 each.
Costs of suit.
For such other and further reiief as this court deems just, equitable and
proper under the circumstances

Fourth Cause of Aetion
(Malicious Prosecution)

General damages from Gfiicer R. Stewart and /or Kansas City, Missouri
Police jointly and severally, to Plaintiff Stewart A< Webb in an amount in
excess of S250,000.00.

Punitive damages from Gi¥ieer R. Stewart to Plaintiff Stewart A. Webb in an
amount in excess of 810,000.00.

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Costs of suit.
For such other and timber relief as this court deems just, equitable and
proper under the circumstances

Fifth Cause 91 Action
(Intentional Infliction of Emotional Distress)

General damages from Officer R. Stewart and or Kansas City, Missouri
Police, jointly and severally, to Plaintiff Stewart A. Webb in an amount in
excess of $250,000.00.
Punitive damages from Oiiicer Fc Stewart to Plaintifl' Stewart A. Webb in an
amount in excess of 510,000. 00.
For such other and further relief as this Court deems just, equitable and
proper under the circumstances
VI.
CAUSES QF AQ_'I.'ION.
First Cause of Action
(42 U.S.C. 1983)

Oflicer L. Taylor, and /or Kansas City Missouri Police
violated PlaintiB`Stewart A. Webb’s constitutional rights pursuant to the
Fourth and Fourteenth Amendments by subjecting Plaintili` to an
unreasonable search and seizure without a warrant or probable cause with
use of excessive force causing Plaintift`Stewart A. Webb damages as
described herein for which Oiiicer L. Taylor and /or Kansas City Missouri
Police are liable pursuant to 42 U.S.C. 1983.
Plainti&` Stewart A. Webb is further entitled to be awarded attorney"s fees as
part of costs of suit pursuant to 42 U.S.C. l988, ifPlaintitl` hires an
Attorney.

Second Cause of Action

(Negligenee)

Ofl‘icer L. Taylor negligently caused Piaintiff Stewart A. Webb damages as
described herein.

If Oft`icer L. Taylor was acting within the scope of his employment with
Kansas City, Missouri Police and was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable for the damages caused
Plaintifl` Stewart A. Webb by the negligent actions of Oflicer L. Taylor

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under the doctrine of respondeat superior.

Third Cause of Action
(False Arrest and Imprisonment)

Oiiicer L. Taylor falsely arrested and imprisoned Plaintiff Stewart A. Webb
for Careless driving, Operates motor vehicle upon a public street when his
privilege to do so was revoked, Operate a motor vehicle while under the
influence of intoxicating liquor as described herein.

If Oflicer L. Taylor was acting within the scope of his employment with
Kansas Cit)g Missouri Police and was not acting wantonly., then Kansas
City, Missouri Police is jointly and severally liable with Ofiicer L. Taylor
for the damages caused by Oflicer L. Taylor by the false arrest and
imprisonment of Plaintifl` Stewart A. Webb under the doctrine of regondeat

superior.

Fom Canse of Acti¢m

(Malicious Prosecntion)

Ofiicer L. Taylor maliciously has tried to prosecute Plaintiff Stewart A.
Webb with lack of probable cause (no evidence), by holding over these
charges as described herein after telling Federal Authorities these charges
were being dropped in 1993, while Plaintiti was in Federal Custody.

If Ofli_cer L. Taylor was acting within the scope of his employment with
Kansas City, Missouri Police and was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable with Oi’licer L. Taylor
for the damages caused by Ofiicer L. Taylor by the malicious prosecution of
Piaintiff` Stewart A. Webb under the doctrine of respgndeat sgp_erior.

Fifth Cause of Actioo
(Intentional IniRicti¢m of Emotional Distress)

Ofticer L. Taylor intentionally inflicted emotional distress upon Plaintiff
Stewart A. Webb by acts, which would be considered outrageous to the
average member of society causing Plaintiff Stewart A. Webb severe
emotional distress all to his damage in an amount in excess of $250,000.00.
If Oflicer L. Taylor was acting within the scope of his employment with
Kansas City, Missouri Police and was not acting wantonly, then Kansas
City, Missouri Police is jointly and severally liable with Oflicer L. Taylor

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General Damages from Ot’ficer L. Taylor and or Kansas City Missouri
Police jointly and severally, to Plaintiff Stewart A. Webb in an amount in
excess of $1,000,000.00.

Punitive damages from Ofticer L. Taylor to Plaintitl` Stewart A. Webb in an
amount in excess of $10,000.00 each.

Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

__T.l!i_\‘_d_(_?.a_\l_$_.¢_¢lf_é§$i.<l!

(False Arrest and Imprisonment)
Special damages from Oflicer L. Taylor and/ or Kansas City, Missouri
Police jointly and severally, to Plaintili` Stewart A. Webb in an amount of
Costs for Bonds on March 15, 2004 andMay 12, 2004.
Special damages for impound fee and damages to Plainti&` vehicle and
stolen items from Plaintit’l` vehicle $280.00. 4
General Damages from Ot`iicer L. Taylor andor Kansas City Missouri
Police jointly and severally, to Plaintifl` Stewart A. Webb in an amount in
excess of$l ,000,000.00.
Punitive damages from Of&cer L. Taylor to Plaintif’t` Stewart A. Webb in an
amount in excess of 310,000.00 each.
Costs of suit.
For such other and further relief as this court deems iust, equitable and
proper under the circumstances

Fourth Cause of Action
(Malicious Prosecution)

General damages from Officer L. Taylor and /or Kansas City, Missouri
Police jointly and severally, to Plaintiti` Stewart A. Webb in an amount in
excess of $250,000.00.

Punitive damages from Oliicer L. Taylor to Plaintiii` Stewart A. Webb in an
amount in excess of $10,000.00.

Costs of suit

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Fifth Cause of Action

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(Intentional Iniliction of Emotional Distress)

General damages from Oflicer L. Taylor and or Kansas City, Missouri
Police, jointly and severally, to Plaintiii` Stewart A. Webb in an amount in
excess of $250,000.00.

Punitive damages from Ofiicer L. Taylor to Plaintiii` Stewart A. Webb in an
amount in excess of $10,000.00.

For such other and further relief as this Court deems just, equitable and
proper under the circumstances

"To begin with, the forensic principle cf 'whc most benefits from the crime?'
clearly points in the direction of the Bush administration . . .The more you
review the connections and the sweeping lapse of security across so many
coordinates, the more the lines point backwards [to the White House]."

VIII.
QALF§E_S__(E_A§_TJ_Q_X
First C'ause ofActiol
(42 U.S.C. 1983)

Kansas City M`unicipal Judge Roach, violated Plaintifl`Stewart A. Webb’s
constitutional rights pursuant to the Fcurth and Fourteenth Amendments by
subjecting Plaintiff to an unreasonable search and seizure without a warrant
or probable cause with use of excessive force causing Fl`aintifi' Stewart A.
Webb damages as described herein for which Kansas City Municipal Judge
Roach, are liable pursuant to 42 U.S.C. 1983.
Piaintiii` Stewart A. Webb is further entitied to be awarded attorney’s fees as
part of costs of suit pursuant to 42 U.S.C. 1988, if Plaintiff hires an
Attorney.

Second Cause of Aetiou

g §g_gligence)

Kansas City thicipal .iudge Roaeh, negligently caused Plaintii’f Stewart A.
Webb damages as described herein.

Kansas City Municipal Judge Roach, Was acting within the scope of his
employment with Kansas City, Missouri and was not acting Wantonly, then
Kansas City, Missouri is jointly and severally liable for the damages caused
Plaintil’f Stewart A. Webb by the negligent actions of Kansas City Municipal

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Judge Roach, under the doctrine of respondeat superior

Third Cause of Action
(False Arrest and Imprisonment)

Kansas City Municipal Iudge Roach, falsely arrested and imprisoned
Plaintiff Stewart A. Webb for false arrest when Plaintiff was already out on
Bond, as described herein

Kansas City Municipal .ludge Roach, was acting within the scope of his
employment with Kansas City, Missouri and was not acting wantonly, then
Kansas City, Missouri is jointly and severally liable With Kansas City
Municipal Juclge Roach, for the damages caused by Kansas City Municipal
Judge Roach, by the false arrest and imprisonment of Plaintil¥ Stewart A.
Webb under the doctrine of MMQL_

Fourth Cause of Aetion
(Malicious Pmsecution)

Kansas City Municipal fudge Roach, maliciously has tried to prosecute
Plaintiti` Stewart Ar Webb with lack,of probable cause (no evidence), by
holding over these charges as described herein alter telling Federal
Authorities these charges were being dropped in l993, while Plaintiff` was in
Federal Custody.

If Kansas City Municipal Judge Roach, was acting within the scope of his
employment with Kansas City, Missouri and was not acting wantonly, then
Kansas City, Missouri is jointly and severally liable with Kansas City
Municipal Judge Roach, for the damages caused by Kansas City Municipal
Fudge Roach, by the malicious prosecution of Plaintiff Stewart A. Webb
under the doctrine of res@ndeat superiorl

Fifth Cause of Action
(Intentional Inflietion of Emotional Distress)

Kansas City Municipal .ludge Roach, intentionally inflicted emotional
distress upon Plaintiil` Stewart A. Webb by acts which would be considered
outrageous to the average member of society causing Plaintifl` Stewart A.
Webb severe emotional distress all to his damage in an amount in excess of
$250,000.00.

If Kansas City Municipal Judge Roach, was acting within the scope of his

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employment with Kansas City, Missouri and was not acting wantonly, then
Kansas City, Missouri is jointly and severally liable with Kansas City
Municipal Judge Roach, for the damages caused by Kansas City Municipal
Judge Roach, by the intentional infliction of emotional distress upon
Plaintiff Stewart A. Webb under the doctrine of re_s_p§_x;@l sugrior.

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PRAYEn ron nurses

WHEREFORE, Plaintiff prays for judgment against vDefendants as follows:

First Cause of Action
(42 U.S.C. 1983)

A declaration that Plaintiffs constitutional rights were violated

Special damages from Kansas City Municipal Judge Roach, and/ or Kansas
City, Missouri jointly and severally, to Plaintiff Stewart A. Webb in an
amount of

$2,500.00 for Bonds not returned to Bondsman when charges were
reportedly dropped in 1993.

Special damages from Kansas City Municipal Judge Roach, and/ or Kansas
City, Missouri jointly and severally, to Plaintili`Stewart A. Webb in an
amount of costs for Bonds on March 15, 2004 and May 12, 2004`

Special damages for impound fee and damages to Plaintiff vehicle and
stolen items h‘om Plainti&` vehicle $`4'80.00.

General Damages from Kansas City Municipal Judge Roach,. and or Kansas
City Missouri jointly and severally, to Plaintiff Stewart A. Webb in an
amount in excess of $1,600',000.00.

Punitive damages from Kansas City Municipal Judge Roach, to Plaintiff
Stewart A. Webb in an amount in excess of $10,000.00 each.

Attorney’s fees and costs of suit if Plaintilf hires an attorney.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Second Cause of Action
(Negllgenee)

Special damages from Kansas City Municipal ludge Roach, and/ or Kansas
City, Missouri jointly and severally, to Plaintiff Stewart A. Webb in an

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amount of costs for Bonds on March 15, 2004 and May 12, 2004.
Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintiff vehicle $480.00.

General Damages from Kansas City Municipal Judge Roach, and or Kansas
City Missouri jointly and severally, to Plaintiil` Stewart A. Webb in an
amount in excess of $1,000,000.00.

Punitive damages from Kansas City Municipal Judge Roach, to Plaintiif
Stewart A. Webb in an amcmnt in excess of $10,000.00 each

Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Third Cause of Action

(False Arrest and lmprisooment)
Special damages from Kansas City Municipal Iudge Roach, and/ or Kansas
City, Missouri`jointl'y and severaIIy, to PlaintifFStewart A. Webb in an
amount of costs for Bonds on March 15,,2.004 and May 12.,. 2004-
Special damages for impound fee and damages to Plaintiff vehicle and
stolen items ii'orn Plaintih’ vehicle $480.00.
General Damages from Kansas City Municipal Iudge Roach, and or Kansas
City Missouri jointly and severally, to Plaintit’f Stewart A. Webb in an
amount in excess of'$I,OO0,000.00; 4
Punitive damages from Kansas City Municipal Judge Roach, to Plaintiff
Stewart A. Webb in an amount in excess of $l 0,000.00 each.
C'osts of suit.
For such other and further relief as this court deems just, equitable and
proper under the circumstances

Fourth Cause of Action
(Malicious Prosecution)

General damages from Kansas City Municipal Judge Roach, and /or Kansas
City, Missouri jointly and severally, to Plaintiif Stewart A. Webb in an
amount in excess of $250,000.00.

Punitive damages from Kansas City Municipal Judge Roach, to Plaintiff
Stewart A. Webb in an amount in excess of $10,000.00.

Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

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Fifth Cause of Action
(Iuteutional Inflietion of Emotional Distress}

General damages from Kansas City Municipal Iudge Roach, and or Kansas
City, Missouri, jointly and severally, to Plaintiti` Stewart A. Webb inan
amount in excess of $250,000.00.

Punitive damages from Kansas City Municipal Judge Roach, to Plaintiff
Stewart A. Webb in m amount in excess of $l 0,900, O&

For such other and further relief as this Court deems just, equitable and
proper under the circumstances

X.
CAUSES GF ACTION

First Cause gf Action
(42 U.S.C. 1983)

Kansas City, Missouri Prosecutors unnamed, violated Plaintiff Stewart A.
Webb’s constitutional rights pursuant to the Fourth and Fourteenth
Amendments by subjecting Pla.intiff to an unreasonable search,and seizure
without a warrant or probable cause with use of excessive force causing
Pl'aintiH"Stewart A. Webb damages as described herein for which
Kansas City, Missouri Prosecutors unnamed, are liable pursuant to 42
U.S.C. 1983.
Plaintiff`S'tewart A. Webb is further entitled to be awarded attorney’s fees as
part of costs of suit pursuant to 42 U.S.C. 1988, if Plaintift` hires an
Attorney.

Second Cause of Action

§Negligence[

Kansas City, Missouri Prosecutors unnamed, negligently caused Plaintiff
Stewart A. Webb damages as described herein

Kansas City, Missouri Prosecutors urmamed, was acting within the scope of
his employment with Kansas City, Missouri and was not acting wantonly,
then Kansas City, Missouri is jointly and severally liable for the damages
caused Plaintiff Stewart A. Webb by the negligent actions of

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Kansas City, Missouri Prosecutors unnamed, under the doctrine of
respgndeat sup_e_rior.

Third Cause of Actiog
(False Ar-rest and lmprisonment).

Kansas City, Missotui Prosecutors unnamed, falsely arrested and
imprisoned Plaintiff Stewart A. Webb for false arrest when Plaintiii` Was
already out on Bond, as described herein.

Kansas City, Missouri Prosecutors unnamed, was acting within the scope of
his employment with Kansas City, Missouri and was not acting wantonly,
then Kansas City, Missouri is jointly and severally liable with

Kansas City, Missouri Prosecutors unnamed, for the damages caused by
Kansas City, Missouri Prosecutors unnamed, by the false arrest and
imprisonment ofPIaintiff Stewart A. Webb under the doctrine of respondeat

sgperior.

F'ourth Cause of Action
(Malicious Prosecution)

Kansas City, Missouri Prosecutors unnamed, maliciously has tried to
prosecute PlaintiH Stewart A. Webb with lack of probable cause (no
evidence), by holding over these charges as described herein after telling
Federal Authorities these charges were being dropped in 1993, while
Plaintiff was in Federal Custody.

Kansas City, Missouri Prosecutors unnamed, was acting within the scope of
his employment With Kansas City, Missouri and was not acting wantonly,
then Kansas City, Missouri is jointly and severally liable with
Kansas City, Missouri Prosecutors unnamed, for the damages caused by
Kansas City, Missouri Prosecutors unnamed, by the malicious prosecution
of Plaintiff Stewart A. Webb under the doctrine of res@ndeat sup§iior.

Fifth Cause of _Action

(Intentional Infliction of Emotional Distress)

Kansas City, Missouri Prosecutors unnamed, intentionally inflicted

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emotional distress upon Plaintiff Stewart A. Webb by acts which would be
considered outrageous to the average member of society causing Plaintif£
Stewart A. Webb severe emotional distress all to his damage in an amount in
excess of $250,000.00.

Kansas City, Missouri Proseeutors unnamed, was acting within the scope of
his employment with Kansas City, Mism)uri and was not acting wantonly,
then Kansas City, Missouri is jointly and severally liable with
KansasCity,MissouziProsecutorsunnamed`, forthedamagescausedby
Kansas City, Missouri Prosecutors unnamed, by the intentional infliction of
emotional distress upon Plaintifl` Stewart A. Webb under the doctrine of

respondeat sugrior.

)_g_.
PRAvnR ron nnan

WHEREFORE, Plaintiff' prays for judgment against Defendants as foilows:

First Cause of Action
(42 U.S.C. 1983)

A declaration that Plaintif£s constitutional rights were violated

Special damages nom Kansas City, Missouri Prosecutors unnamed, and/ or
Kansas City, Missouri jointly and severally, to Plaintitf Stewart A. Webb in
an amount of $2,500.00 for Bonds not returned to Bondsman when charges
were reportedly dropped in 1993.

Special damages from Kansas City, Missouri Prosecutors unnamed, and/ or
Kansas City, Missouri jointly and severally, to Plaintiff Stewart A. Webb in
an amount of costs for Bonds on March 15, 2004 and May IZ, 2004.
Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintiff vehicle $480.00.

General Damages from Kansas City, Missouri Prosecutors unnamed, and or
Kansas City Missouri jointly and severally, to Plaintit`f Stewart A. Webb in
an amount in excess of $l ,000,000.00.

Ptmitive damages from Kansas City, Missouri Prosectrtors tmnamed~, to
Plaintiii` Stewart A. Webb in an amount in excess of $10,000.00 each.
Attorney’s fees and costs of suit if Plaintili` hires an attorney.

For such other and further relief as this conn deems just, equitable and
proper under the circumstances

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S_._e_em_d_§M
(Negligenee)

Special damages from Kansas City, Missouri Prosecutors unnamed, and/ or
Kansas City, Missouri jointly and severally, to Plaintiff Stewart A. Webb in
an amount of costs for Bonds on March 15, 2004 and May 12, 2004.
Special damages for impound fee and damages to Plaintifl` vehicle and
stolen items from Plaintiff vehicle MSO.£)Q.

General Damages from Kansas City, Missouri Prosecutors unnamed, and or
Kansas City Missouri jointly and severally, to Plaintiff Stewart A. Webb in
an amount in excess of $l,GDG,QGO.(N).

Punitive damages from Kansas City, Missouri Prosecutors unnamed, to
Plaintiii` Stewart A. Webb in an amount in excess of $10,000.00 each.
Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Ihird Cause of Action
Walse Arrest and Imprisonment)
Special damages from
Kansas City, Missouri Prosecutors unnamed, and/ or Kansas City, Missouri
jointly and severally, to Plaintifi` Stewart A. Webb in an amount of costs for
Bonds on March 15, 2004 and May 12, 2004.
Special damages for impound fee and damages to Plaintiff vehicle and
stolen items from Plaintiff vehicle $480.06.
General Damages from Kansas City, Missouri Prosecutors unnamed, and or
Kansas City Missouri jointly and severally, to PlaintiE Stewart A. Webb in
an amount in excess of $1,000,000.0{).
Punitive damages ii'om Kansas City, Missouri Prosecutors unnamed, to
Plaintiff Stewart A. Webb in an amount in excess of $10,000.00 each.
Costs of suit. _
For such other and further relief as this court deems just, equitable and
proper under the circumstances

Fourth Cause of Action
(Malicious Proseeution)

General damages from Kansas City, Missouri Prosecutors unnamed, and /or
Kansas City, Missouri jointly and severally, to Plaintiff Stewart A. Webb in

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an amount in excess of SZS0,000.00.

Punitive damages from Kansas City, Missouri Prosecutors unnamed, to
Plaintiff Stewart A. Webb in an amount in excess of 310,000.00.

Costs of suit.

For such other and further relief as this court deems just, equitable and
proper under the circumstances

Fifth Cause of Action
(Intentional Infliction of Emotional Distress)

General damages from Kansas City, Missouri Prosecutors unnamed, and or
Kansas City, Missouri, jointly and severally, to Plaintifi` Stewart A. Webb in
an amount in excess of $250,000.00.

Punitive damages nom Kansas City, Missouri Prosecutors unnamed, to
Plaintiff Stewart A. Webb in an amount in excess of $10,000.00.

ADDITIGNAL REOUESTED RELIEF
WHEREFORE, Plaintiff, Stewart Webb Pro Se, prays this Honorable Court
Will grant judgment against Defe;ndants as hereinafter and above set forth:
For general damages in an amount according to proof at trial;

For economic damages according to proof at trial;

For property damage and loss of use of property according to proof at trial',
For transportation, and related expenses according to proof;

For punitive damage and all treble damages based on compensatory
damages per RICO statute as allowed by law according to proof;

For prejudgment interest as allowed by law;

F`or all compensatory damages for pain and suffering, etc;

For all costs of suit, including attorney fees, investigators and other related
fees and costs pursuant to 42 U.S.C. § 1988 or/and the Private Attorney
General Act according to proof incurred herein;

For all special damages in the amount of $1,000,000.00 each according to
proof; and

For such other and further extraordinary declaratory and injunctive relief as
this Honorable Court may deem just and proper on behalf of Plaintiff and
others similarly situated and to preserve the United States Constitution.

For such other and further relief as this Court deems just equitable and
proper under the circumstances

For such other and further extraordinary declaratory and injunctive relief as

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this Honorable Court may deem just and proper on behalf of Plaintiff done
by Assistant Publie Defender Charles Szekley of Denver Colorado.

For such other and further relief as this Court deems just, equitable and
proper under the circumstances of Prosecutors, .ludges, Police, acting and
conducting Malicious Prosecution Acted in Bad Faith.

Defendants failure to act in Good Faith, instead acted in Bad Fa.ith and
Maliciously attempt to Prosecute Plaintiff after 6 traffic ticket charges had
been agreed upon to be dropped while Plaintiff was in Federal Custody and
then Defendants Conspired to caused Plaintit}` tin-imaginable mental,
emotional, physical and financial injury.

Stewart A. Webb is the Plaintiff Pro Se, first duly sworn, deposes and says:
That Plaintiff is the above-entitled~matter-complaint and knows the contents
thereof; that the same is true to best of Plaintiffs knowledge except as to
those matters therein stated in information and belief and, as those matters,
he believes them to be true.

DATED this 7th day of December 2004.

 
 

 

( stewart A. Webb nathan am se,
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www.stewwebb.com

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